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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 LINDA MCKINNEY,                         )
                                         )
              Plaintiff,                 )
                                         )
       v.                                ) CAUSE NO. 1:18-CV-00335-RLY-TAB
                                         )
 SUPER BOWL PHO LLC                      )
 and LEO NGUYEN                          )
                                         )
              Defendants.                )

    DEFAULT JUDGMENT AGAINST SUPER BOWL PHO LLC AND LEO NGUYEN

       The Plaintiff, Linda McKinney, having moved for a default judgment against

 Defendants Super Bowl Pho LLC and Leo Nguyen, and the Court, having reviewed the

 motion and being duly advised in the premises, now finds that Defendants Super Bowl

 Pho LLC and Leo Nguyen are in default for failing to plead or otherwise defend against

 Plaintiff’s Complaint, and that in view of the default of Defendants, JUDGMENT is hereby

 ENTERED IN FAVOR OF Plaintiff Linda McKinney and AGAINST Defendants Super

 Bowl Pho LLC and Leo Nguyen as follows:

       1.     JUDGMENT is hereby ENTERED IN FAVOR OF Plaintiff Linda McKinney

  and AGAINST Defendants Super Bowl Pho LLC and Leo Nguyen in the amount of

  $4,841.70; and

       2.     the Court further awards Plaintiff her reasonable attorney’s fees and costs

 in the amount of $6,522.50.

       IT IS SO ORDERED this ________ day of ___________, 2019.
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                               Judge/Magistrate Judge
                               United States District Court
                               Southern District of Indiana


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 c/o Registered Agent Leo Nguyen
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